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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA


       IN RE: ZANTAC (RANITIDINE)                                                               MDL NO. 2924
       PRODUCTS LIABILITY                                                                        20-MD-2924
       LITIGATION
                                                                JUDGE ROBIN L. ROSENBERG
                                                       MAGISTRATE JUDGE BRUCE E. REINHART

       _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                       PRETRIAL ORDER # 63
                        Supplemental Discovery Schedule for Brand Manufacturers

              In Pretrial Order # 30, the Court adopted the parties’ stipulated case management schedule

   that included deadlines on matters such as the briefing of motions, discovery, and bellwether trial

   selection. Among other things, the Order set a deadline of August 2, 2021, for the completion of

   fact discovery of Defendants on issues related to general causation and a deadline of December 20,

   2021, for the completion of all fact discovery of Defendants and fact discovery related to class

   certification and for the filing of Daubert motions on general causation and Plaintiffs’ class

   certification motions.

              To ensure that the aforementioned deadlines were maintained, the Court entered Pretrial

   Order # 47 wherein the Court set deadlines for the initial production and substantially completed

   production of non-custodial documents and first tranche custodial documents for each of the four

   Brand Manufacturers involved in this litigation.1 The Court set those deadlines after reviewing

   detailed spreadsheets containing the parties’ proposed discovery timelines and after holding a status

   conference on the parties’ proposals. The Court declined to set more detailed discovery deadlines



   1
       The four Brand Manufacturers are Boehringer Ingelheim (“BI”), Sanofi, Pfizer, and GlaxoSmithKline (“GSK”).
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   due to the fluidity of the discovery process. The Court also declined to define the phrase

   “substantial completion,” instead encouraging the parties to come to agreement on what would

   constitute substantial completion.

           Subsequent to the entry of Pretrial Order # 47, the Defendants, for the most part, met the

   deadlines set by the Court. One Defendant, GSK, sought an extension because of, inter alia,

   COVID-19 lockdown restrictions that impacted GSK’s ability to obtain and produce documents.

   For good cause shown, the Court granted GSK’s request for an extension. DE 3094.

           With the exception of the aforementioned extension, the deadlines in Pretrial Order # 47

   have expired. As a result, at the Court’s March 25, 2021 case management conference, the Court

   discussed with the parties potential deadlines for the Brand Manufacturers’ upcoming discovery.2

           The Court has considered the parties’ positions as discussed at the March 25 case

   management conference. Based upon the Court’s assessment of those positions, it is hereby

   ORDERED AND ADJUDGED that the parties shall adhere to the following deadlines:

           A. BOEHRINGER INGELHEIM

                                  Event                       Substantial Completion
                      30(b)(6) depositions3                  May 7, 2021
                      Second tranche of custodial            May 31, 2021
                      document production


           The Court addresses one additional matter with respect to BI. The Court understands that

   the parties are in the process of meeting and conferring on the scope of a document request

   pertaining to documents stored in the Promeco facility. The parties are directed to either (i) notify



   2
    At the conference, the Court discussed the process for the parties to meet and confer on any proposal to modify PTO
   # 30. This Order sets forth interim discovery deadlines without prejudice to any such proposal.

   3
     This deadline applies only to the Pharmacovigilance, Regulatory, Storage & Transport, Marketing and FDA 483
   topics; this deadline is without prejudice to the timing of any additional 30(b)(6) notices issuing in the future.


                                                            2
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   the Court of an agreement on this issue by April 16, 2021 or (ii) request by the same date that the

   Court resolve the issue pursuant to Pretrial Order # 32.

            B. SANOFI

                                     Event                       Substantial Completion

                       30(b)(6) depositions4                  April 30, 2021

                       Remedial5 production of first          April 30, 2021
                       tranche of custodial files
                       Second tranche of custodial            June 30, 2021
                       document production
                       Remedial production of                 July 30, 2021
                       second tranche of custodial
                       files


            C. PFIZER

                                   Event                          Substantial Completion
                       30(b)(6) depositions6                     April 30, 2021
                       Second tranche of custodial               April 30, 2021
                       document production




   4
    This deadline applies only to the Distribution & Storage, Pharmacovigilance, Regulatory and Marketing topics; this
   deadline is without prejudice to the timing of any additional 30(b)(6) notices issuing in the future.

   5
     Sanofi previously represented to the Court that certain requested records were not retained and therefore were not
   produced to the Plaintiffs. Without conceding any violation of Fed. R. Civ. P. 37, Sanofi has been engaging in
   remediation efforts with regard to the production.

   6
     This deadline applies only to Pharmacovigilance and Distribution & Storage topics; this deadline is without prejudice
   to the timing of any additional 30(b)(6) notices issuing in the future.


                                                             3
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            D. GSK

                                  Event                        Substantial Completion
                      30(b)(6) depositions7                  May 30, 2021
                      Second tranche of custodial            April 30, 2021
                      document production


            The Court addresses one additional matter with respect to GSK. The Court understands

   that the parties are in the process of meeting and conferring on the scope of a document request

   pertaining to storage and transportation. The parties are directed to either (i) notify the Court of an

   agreement on this issue by April 16, 2021 or (ii) submit a joint memorandum by that date for

   resolution of the matter by the Court pursuant to Pretrial Order # 32.

            Brand Defendants are directed to provide a notice to the Plaintiffs, on the substantial

   completion dates set forth above, with a copy to the Special Master, stating whether all responsive

   documents have been produced or whether certain discoverable items remain outstanding. To the

   extent any discoverable items remain outstanding, the notice shall include the estimated volume

   and status of such production, together with an estimate of when the production will be

   completed.

            Finally, the Court REFERS to Judge Reinhart the authority to enter such orders as

   necessary to enforce and effectuate the deadlines in this Order.

            DONE and ORDERED in Chambers, West Palm Beach, Florida, this 2nd day of April,

   2021.



                                                         ROBIN L. ROSENBERG
                                                         UNITED STATES DISTRICT JUDGE

   7
     The parties indicated that this will be the substantial completion date for the Regulatory, Safety, Storage &
   Distribution, and Pre-clinical/Clinical depositions; this deadline is without prejudice to the timing of any additional
   30(b)(6) notices issuing in the future.


                                                             4
